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 1                 I, A              H           -R     , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I would competently so testify. I make this declaration in support of Plaintiffs’
 4 Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I have been incarcerated at FCI Dublin since May 2019. In the past I was
 6 incarcerated by the Bureau of Prisons (BOP) at FCI Tallahassee and FCI Aliceville. In the
 7 future BOP may transfer me to other BOP facilities, but at any point I could be transferred
 8 back to FCI Dublin.
 9                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
10 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
11 and put myself and other incarcerated persons at substantial risk of imminent serious harm
12 from sexual assault, harassment, and retaliation from staff.
13                 4.     While at FCI Dublin, I was shown a video about PREA. It included
14 information about talking to someone or writing an email if you experience sexual assault.
15 Dublin did not give any follow up training, and the training they did offer did not stop the
16 rampant sexual abuse of incarcerated people by officers at FCI Dublin.
17                 5.     When I first arrived at FCI Dublin, I worked at the call center, Unicor, for
18 nine months. Around January or February 2020, I took a job in Food Service in the
19 Butcher Shop, cutting meat. Shortly thereafter, Officer Jones began to work in Food
20 Service. Officer Jones began to get close with several of the girls that I worked with in
21 Food Service. He would take us outside and expected me to be a look out for him while he
22 had sex with an incarcerated woman. It was subtle, but he made it clear that we could take
23 whatever we wanted from the kitchen in exchange (like cheese and vegetables).
24                 6.     Being forced into this lookout role made me deeply uncomfortable. I quit
25 my position in the Butcher Shop to avoid taking part in Officer Jones’ abuse.
26                 7.     After that position, I took a new job in Recycling. Several months later, I
27 took a job in Safety. In this role, I was responsible for making sure the fire extinguishers
28 worked, changing lights, doing paperwork, and other tasks. Given the position of my
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 1 assigned desk, I understood that Officer Bellhouse expected me to act as a lookout as he
 2 had inappropriate sexual relationships with the girls I worked with. Specifically, Officer
 3 Bellhouse would take a girl into his office and make her sit on his lap. To help ensure that
 4 everyone who worked there would keep quiet about what he was doing, Officer Bellhouse
 5 would give us food—pizza, bagels, Monster energy drinks, Red Bulls, and candy. I worked
 6 for Officer Bellhouse until he was walked off on sexual assault charges.
 7                 8.    I believe that these officers targeted me for these lookout roles because I am
 8 a transgender man, and it did not raise as much suspicion if they had a boy working with
 9 them. That is how they would play it off.
10                 9.    In July 2022, I began to be sexually harassed by a guard, Officer Nadia
11 Vazquez. Officer Vazquez would find reasons to come get me. She and Officer Serrano
12 used to come take me out. Officer Vazquez would also flirt with me, bring me contraband,
13 like Red Bulls, Twix bars, and clothing, and take me to use staff computers. She would
14 ask why I didn’t look for women “beyond the fence.” She hugged me three times and on
15 one occasion kissed me on the lips.
16                 10.   Officers Vazquez and Serrano began to interfere with my romantic
17 relationship with another incarcerated person. They wanted to make sure I wasn’t with
18 her. On September 6, 2022, they took me to a staff office and Officer Serrano told me
19 about the email messages that my girlfriend was exchanging with a former male officer,
20 Officer Gacad. They also let me listen to all of her phone calls.
21                 11.   Officer Vazquez stopped flirting with me when I reported my girlfriend’s
22 ongoing relationship with Officer Gacad to SIS in November 2022.
23                 12.   After I reported my girlfriend’s abuse to SIS, Lt. Putnam said that he would
24 follow up with me later. He said it was “too much” for him to deal with. He has still not
25 spoken to me about it. When incarcerated persons report sexual assault and abuse by staff,
26 FCI Dublin and BOP do not seriously investigate the reports. Investigations are frequently
27 delayed and overseen by staff who know and work with the offending staff member.
28 Generally nothing happens as a result.
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 1                 13.   Officer Vazquez was walked off in March as a result of an emergency
 2 request for administrative remedy that I filed. Officer Serrano still works here, including
 3 on my unit.
 4                 14.   Just last week, on Thursday, August 10, another guard named Officer Souza
 5 was walked off for sexual misconduct with an incarcerated woman. Because my girlfriend
 6 and I were abused by other guards and reported it, and we are in communication with
 7 lawyers, staff and incarcerated people are spreading rumors that my girlfriend reported
 8 Officer Souza, and making her life very difficult.
 9                 15.   Staff at FCI Dublin have never worn body-worn cameras in the facility and
10 despite ongoing sexual abuse and assault at the facility staff still do not use body-worn
11 cameras. There are some cameras installed in fixed locations in the facility, but it is well
12 known that there are no cameras in the offices that Officer Vazquez used to take me to. I
13 have been in there myself and saw there were no cameras there. The cameras that are
14 installed are enclosed in dark colored glass and it is impossible to tell where they are
15 pointing or whether they are working.
16                 16.   There is no effective way to confidentially report sexual assault and abuse by
17 staff at FCI Dublin. After I made the report to SIS about my girlfriend, Officer Serrano
18 came to my door and told me, “you better tell your fucking bitch to not report us,”
19 referring to my girlfriend. After I testified in court for the government against former
20 Officer Bellhouse, all the lieutenants and officers asked me about it—everyone on the
21 compound knew that I had testified. I just tried to go straight back to my room. Using the
22 administrative remedy process is also extremely difficult – when we ask for the forms,
23 they don’t give them to us. They always send us somewhere else. Most recently, it took
24 me a very long time to get a BP-11 form.
25                 17.   Staff at FCI Dublin prevent people from reporting sexual assault and abuse
26 by staff and retaliate against people who do report. For example, Officer Serrano began to
27 spread rumors that my girlfriend was the reason that her boyfriend (another officer) was
28 walked off. Since I reported, staff have targeted me. Earlier this week I was “randomly”
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 1 drug tested, and given no reason. To me this felt like retaliation. I am afraid that I and
 2 other people will suffer even worse retaliation by participating in this lawsuit.
 3                 18.   There is no confidential mental health care available to survivors of sexual
 4 abuse and assault at FCI Dublin. I still have not received any confidential mental health
 5 care services other than one meeting with psychology after speaking with SIS. I do not
 6 trust the clinicians here. I do not feel safe at FCI Dublin.
 7                 19.   There is little to no medical care available to survivors of sexual abuse and
 8 assault at FCI Dublin. I pulled a muscle in my back that is causing me significant pain and
 9 the clinicians have not even given me ibuprofen to treat it. I have been suffering from a
10 respiratory illness for weeks that has caused me to spit up blood and make me feel as if I
11 could not breathe, but because I am testing negative for COVID, they have done nothing to
12 treat it.
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